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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                                  CRIMINAL ACTION


       v.

DOUGLAS S. RAE                                            No. 15-432


                                         ORDER


       AND NOW, this      &~ay of August, 2020, upon consideration of Douglas Rae's pro

se Emergency Motion for Reduction of Sentence Under 18 U.S.C. § 3582(C)(l)(a) (Doc. No. 75),

Mr. Rae's Addendum to Emergency Motion (Doc. No. 76), the Government's Response in

Opposition (Doc. No. 77), and the medical records attached thereto (Doc. No. 78), it is ORDERED

that the Motion for Reduction of Sentence (Doc. No. 75) is DENIED for the reasons set forth in

the Court's accompanying Memorandum.




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                                                                  S DISTRICT JUDGE
